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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                ROANOKE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
               v.                                  )   Case No.: 7:19-CR-00094
                                                   )
MARIUS CAT AL UI                                   )

                                           ORDER

       Pursuant to Federal Rules of Criminal Procedure 6(e), 16, and 26.2, 26 U.S.C . §§

6103(h)(4)(D) and (i)(4)(A), and the authority ofthis Court to administer its proceedings, and on

motion of the United States, it is ORDERED that:

            1. The United States is permitted to disclose to counsel for the defense as part of

               voluntary discovery, grand jury materials, tax return information , criminal

               histories, medical records, witness interview reports, materials covered by the

               Privacy Act, and other materials;

           2. Any material provided by the United States Attorney ' s Office to defense counsel

               shall be covered by this Order and shall be defined as "original material" for

               purposes of this order;

           3. The United States and defense counsel may use this material for the prosecution

               and defense of the case, respectively, and make such further disclosures as may

               be necessary for, and for the sole purpose of, prosecuting and defending this case;

           4. Counsel for the defense may use this material solely for the defense of the case,

               may not copy any of the material except as needed for defense ofthe case (any

               copy is governed by this Order as if it were the original) and may not remove or
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            allow the removal of any of this material from the office of defense counsel

            unless kept in the personal possession of defense counsel at all times;

         5. Notwithstanding the restrictions set forth in the preceding paragraph, defense

            counsel may make a copy of any materials provided to counsel for the defendant

            by the Government to be given to the appropriate person to be placed on file at

            the facility holding the defendant in a secure location (i.e., warden ' s office or

            counselor's office), for the defendant' s review. These materials may not be given

            directly to the defendant and may not be removed from the secure location by the

            defendant. The defendant is advised that violation of this Order may result, in

            addition to other potential penalties, in the defendant being required to show

            cause why the defendant should not be held in contempt of court. Defense

            counsel must retrieve these materials at the conclusion of the case and either

            destroy the materials or return them to the U.S. Attorney' s Office.

         6. Before a defendant views any of the material, defense counsel shall provide the

            defendant with a copy of this Order;

         7. A defendant may not be in possession of any ofthe material unless in the

            presence of defense counsel ;

         8. Defense counsel shall diligently protect from unnecessary dissemination any of

            the following information included in the materials: social security account

            numbers, dates of birth, financial account numbers , and home addresses. While

            defense counsel may disclose such information, if necessary for the defense,

            defense counsel shall not provide to and shall not allow the defendant to possess

            any documentation of such information.



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            9. If defense counsel does not wish to receive the above described materials,

                defense counsel:

                    a.   Shall so advise, in writing, the Court and the United States Attorney's

                         upon receipt of this Order;

                    b. Shall not view, nor allow anyone else to view, any of the materials; and

                    c. Forthwith, shall return all materials to the United States Attorney's Office

                         and shall destroy all copies (electronic or otherwise) of the materials;

             10. If defense counsel is removed from the case, defense counsel, forthwith, shall

                return all original material to the United States Attorney's Office;

             11. This order and its provisions continue beyond the conclusion of this case and

                continue to apply to any defense counsel who is removed from the case; and

             12. Notwithstanding interpretations of Virginia Rule of Professional Conduct 1.16(e)

                or any other provision of law or ethical rule, defense counsel may never provide

                the materials to a defendant, including, but not limited to, for use by the

                defendant to prepare a petition pursuant to 18 U.S.C. § 2255.

        Unauthorized disclosure of grand jury information and tax returns is a violation of federal

 law. Unauthorized disclosure of any of the material could endanger witnesses, subject them to

 intimidation, chill their candor, violate their privacy, impede future investigations and have other

 negative consequences. Witness intimidation, threatening, and tampering are criminal acts and

 are subject to punishment accordingly. Violation of this Order also may be deemed a contempt

 of court pursuant to 18 U.S.C. § 401.




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       It is further ORDERED that if an Indictment in this case is under seal, the Clerk of this

Court shall delay disclosing a copy of this Order to defense counsel until the unsealing of the

Indictment.




       ENTERED thiS
                      . 3 tr     day of   ~2020.




                                                     CHIEF UNITgp;stATESDTSTRlCT JUDGE




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